        Case 1:19-cv-00778-CJN Document 16 Filed 08/06/19 Page 1 of 2



           IN THE UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF COLUMBIA

CAUSE OF ACTION INSTITUTE,                      )
                                                )
            Plaintiff,                          )
                                                )
      v.                                        )           No. 1:19-cv-778-CJN
                                                )
UNITED STATES                                   )
DEPARTMENT OF COMMERCE                          )
                                                )
            Defendant.                          )
________________________________________________)

     PLAINTIFF’S OPPOSITION TO DEFENDANT’S SECOND MOTION
                  TO EXTEND BRIEFING SCHEDULE

      Plaintiff Cause of Action Institute (“CoA Institute”) hereby opposes Defendant

Department of Commerce’s (“Commerce”) motion to extend—for the second time—

the deadlines for summary judgment briefing. In support of its opposition, CoA

Institute states the following:

   1. Commerce’s dilatory motives are plain and inexcusable. As CoA Institute

explained in its opposition to Commerce’s July 19th motion to extend the briefing

schedule, ECF No. 12, the agency appears to be taking the position that the record at

issue in this case is exempt from disclosure unless and until the President allows

Commerce to release it. Thus, Commerce appears to be relying on some sort of

“temporal privilege” but refuses to put that position in writing.

   2. CoA Institute strongly disagrees that a “temporal privilege”—which would

grant complete discretion to the President to control the disclosure of agency
        Case 1:19-cv-00778-CJN Document 16 Filed 08/06/19 Page 2 of 2



records—exists under the Freedom of Information Act and urges the Court not to

entertain Commerce’s continued recalcitrance.

   3. If Commerce has a legal defense for its withholding of the record at issue, let

it put that defense in writing and present it to this Court and CoA Institute for

examination.

   4. Further, in its July 24th Order, the Court stated “that future motions seeking

to extend the briefing schedule will be disfavored.”

   5. This case was filed nearly five months ago; there is a single record at issue.

There is no justification for continued delay.

      Accordingly, CoA Institute respectfully urges the Court to deny Commerce’s

motion and require it to present its legal position as scheduled.



Date: August 6, 2019                       Respectfully submitted,

                                           /s/ R. James Valvo, III
                                           R. James Valvo, III (D.C. Bar No. 1017390)
                                           Ryan P. Mulvey (D.C. Bar No. 1024362)
                                           Lee A. Steven (DC Bar. No. 468543)
                                           CAUSE OF ACTION INSTITUTE
                                           1875 Eye St., NW, Suite 800
                                           Washington, DC 20006
                                           Telephone: (202) 499-4232
                                           Facsimile: (202) 330-5842
                                           james.valvo@causeofaction.org
                                           ryan.mulvey@causeofaction.org
                                           lee.steven@causeofaction.org

                                           Counsel for Plaintiff




                                           2
